            Case
7/12/23, 8:00 AM 5:23-cv-11074-JEL-EAS     ECF Party
                                    The Libertarian No.Mail
                                                        17-13,      PageID.969
                                                            - Fwd: Submission            Filedfor07/22/23
                                                                              to LEC - Petitions                Page 1 of 76
                                                                                                  Special Convention



                                                                                                         Secretary LNC <secretary@lp.org>



  Fwd: Submission to LEC - Petitions for Special Convention
  4 messages

  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                                                 Wed, Jul 12, 2023 at 7:58 AM
  To: Secretary LNC <secretary@lp.org>


    ---------- Forwarded message ---------
    From: Joe Brungardt <joebfreedom@gmail.com>
    Date: Tue, Jan 3, 2023, 10:31 PM
    Subject: Submission to LEC - Petitions for Special Convention
    To: <elgasja@gmail.com>, <excomm@michiganlp.org>, Andrew Chadderdon <andrew.chadderdon@gmail.com>, LPM
    Secretary <secretary@michiganlp.org>, Kyle McCauley <k86.mccauley@gmail.com>, Jami Van Alstine
    <jamiracquel2004@yahoo.com>, dave canny <cannyds@gmail.com>, Gregory Stempfle <gregstempfle@gmail.com>,
    Rafael Wolf <rfwolf@gmail.com>, <mary.buzuma@att.net>, Scotty Boman <scottyeducation@yahoo.com>,
    <chair@michiganlp.org>
    Cc: Libertarian Party of Michigan <webmaster@michiganlp.org>, Leah Dailey <fuleahrd@gmail.com>, Angela Thornton
    Canny <angelat0763@gmail.com>


    Board Members,

    On behalf of the undersigned Libertarian Party of Michigan members in the attached documents, I hereby submit two
    petitions demanding the Executive Committee call special conventions within 45 days in accordance with our bylaws. The
    signatures included in each petition surpass the threshold of 10% of our current membership required.

    Having submitted this on Jan 3, the convention will need to be held by no later than Friday, February 17.

    It is pointless to continue bickering over interpretations, as they are not indisputable facts. No amount of debate will
    convince enough members that one of the presented views is the correct one, and internal feuds will continue until the
    issues facing us are properly dealt with. There are many members of the party that believe holding a special convention
    for these matters is the best way for our party to put aside the infighting and continue with the work that is truly important,
    electing Libertarians.

    Warm regards,
    Joe Brungardt

     2 attachments
          LPM Petition Fill Vacancies.pdf
          6900K
          LPM Petition No Confidence.pdf
          6051K


  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                                                 Wed, Jul 12, 2023 at 7:58 AM
  To: Secretary LNC <secretary@lp.org>


    ---------- Forwarded message ---------
    From: Gregory Stempfle <gregstempfle@gmail.com>
    Date: Tue, Jan 3, 2023, 11:00 PM
    Subject: Re: Submission to LEC - Petitions for Special Convention
    To: Joe Brungardt <joebfreedom@gmail.com>
    Cc: <elgasja@gmail.com>, <excomm@michiganlp.org>, Andrew Chadderdon <andrew.chadderdon@gmail.com>, LPM
    Secretary <secretary@michiganlp.org>, Kyle McCauley <k86.mccauley@gmail.com>, Jami Van Alstine
    <jamiracquel2004@yahoo.com>, dave canny <cannyds@gmail.com>, Rafael Wolf <rfwolf@gmail.com>,
    <mary.buzuma@att.net>, Scotty Boman <scottyeducation@yahoo.com>, <chair@michiganlp.org>, Libertarian Party of

                                                        EXHIBIT 52
https://mail.google.com/mail/u/1/?ik=8eeefd4fa3&view=pt&search=all&permthid=thread-f:1771223448977555318&simpl=msg-f:1771223448977555318&simpl=m…   1/3
            Case
7/12/23, 8:00 AM 5:23-cv-11074-JEL-EAS     ECF Party
                                    The Libertarian No.Mail
                                                        17-13,      PageID.970
                                                            - Fwd: Submission            Filedfor07/22/23
                                                                              to LEC - Petitions                Page 2 of 76
                                                                                                  Special Convention
    Michigan <webmaster@michiganlp.org>, Leah Dailey <fuleahrd@gmail.com>, Angela Thornton Canny
    <angelat0763@gmail.com>


    Board Members,

    To help the LEC plan the special convention, I calculated the delegate apportionment based on the most recent results for
    Secretary of State.

    Per LPM Bylaws...

            VI CONVENTIONS
            4) The Executive Committee shall allocate delegates to all state conventions to be selected
            by each afﬁliate region in proportion and according to the number of votes cast within the
            afﬁliate region for the Party’s most recent candidate for secretary of state.
    Here is a spreadsheet with my math. Please double check my work.

    https://docs.google.com/spreadsheets/d/1_u0CDhey759GkINTPLqnpFVM40eIpa10/edit?usp=share_link&ouid=
    116221985963204550132&rtpof=true&sd=true

    Election results were downloaded here

    https://mielections.us/election/results/2022GEN_CENR.html

    Look for "TAB-delimited by County" under the "Data" dropdown menu.


    LPM Delegate Apportionment for 2023-2024
    Affiliate / Unaffiliated Region Delegate Count
    Capitol Area 10
    Genesee 7
    Huron-Raisin 11
    Jackson-Hillsdale 3
    Lapeer 2
    Livingston 5
    Macomb 14
    Northwest 6
    Oakland 24
    Southwest 14
    Straits Area 2
    Unaffiliated Mid Michigan 9
    Unaffiliated Mid-North 3
    Unaffiliated NE Michigan 1
    Unaffiliated Thumb Area 6
    Upper Peninsula 5
    Wayne 21
    West 32
    Total 175


    Greg Stempfle
    [Quoted text hidden]



  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                                                 Wed, Jul 12, 2023 at 7:58 AM
  To: Secretary LNC <secretary@lp.org>


    ---------- Forwarded message ---------
    From: Joe Brungardt <joebfreedom@gmail.com>
    Date: Tue, Jan 3, 2023, 11:02 PM
    Subject: Re: Submission to LEC - Petitions for Special Convention
    To: Gregory Stempfle <gregstempfle@gmail.com>
https://mail.google.com/mail/u/1/?ik=8eeefd4fa3&view=pt&search=all&permthid=thread-f:1771223448977555318&simpl=msg-f:1771223448977555318&simpl=m…   2/3
            Case
7/12/23, 8:00 AM 5:23-cv-11074-JEL-EAS     ECF Party
                                    The Libertarian No.Mail
                                                        17-13,      PageID.971
                                                            - Fwd: Submission            Filedfor07/22/23
                                                                              to LEC - Petitions                Page 3 of 76
                                                                                                  Special Convention
    Cc: <elgasja@gmail.com>, <excomm@michiganlp.org>, Andrew Chadderdon <andrew.chadderdon@gmail.com>, LPM
    Secretary <secretary@michiganlp.org>, Kyle McCauley <k86.mccauley@gmail.com>, Jami Van Alstine
    <jamiracquel2004@yahoo.com>, dave canny <cannyds@gmail.com>, Rafael Wolf <rfwolf@gmail.com>,
    <mary.buzuma@att.net>, Scotty Boman <scottyeducation@yahoo.com>, <chair@michiganlp.org>, Libertarian Party of
    Michigan <webmaster@michiganlp.org>, Leah Dailey <fuleahrd@gmail.com>, Angela Thornton Canny
    <angelat0763@gmail.com>, <jeffpittel@sbcglobal.net>


    I am additionally attaching a list of members' names that have signed each petition and copying the Membership
    Committee Chair in case verification of active membership status is requested.

    Joe

    [Quoted text hidden]


          Special Convention Petition Names 2023-01-03.xlsx
          13K


  Andrew Chadderdon <andrew.chadderdon@gmail.com>                                                                 Wed, Jul 12, 2023 at 7:59 AM
  To: Secretary LNC <secretary@lp.org>

    Response on behalf of the board (membership committee chair) acknowledging validity of the signatures

    ---------- Forwarded message ---------
    From: Jeff Pittel <jeffpittel@sbcglobal.net>
    Date: Wed, Jan 4, 2023, 3:23 PM
    Subject: Re: Submission to LEC - Petitions for Special Convention
    To: Gregory Stempfle <gregstempfle@gmail.com>, Joe Brungardt <joebfreedom@gmail.com>
    Cc: elgasja@gmail.com <elgasja@gmail.com>, excomm@michiganlp.org <excomm@michiganlp.org>, Andrew
    Chadderdon <andrew.chadderdon@gmail.com>, LPM Secretary <secretary@michiganlp.org>, Kyle McCauley
    <k86.mccauley@gmail.com>, Jami Van Alstine <jamiracquel2004@yahoo.com>, dave canny <cannyds@gmail.com>,
    Rafael Wolf <rfwolf@gmail.com>, mary.buzuma@att.net <mary.buzuma@att.net>, Scotty Boman
    <scottyeducation@yahoo.com>, chair@michiganlp.org <chair@michiganlp.org>, Libertarian Party of Michigan
    <webmaster@michiganlp.org>, Leah Dailey <fuleahrd@gmail.com>, Angela Thornton Canny <angelat0763@gmail.com>


    Hello -
    I've reviewed and updated the spreadsheet provided and confirm both petitions pass the 10%
    Member threshold for Special Convention per attached.
    Note I distinguished between Current and New in the summation as bylaws reference current
    Members, which lowers the number of signatories.

    Cordially,

    Jeff Pittel
    Chair - Membership Committee

    Libertarian Party of Michigan

    CELL: 248-688-8318



    [Quoted text hidden]


          Special Convention Petition Names 2023-01-03 - MEM Status.xlsx
          17K




https://mail.google.com/mail/u/1/?ik=8eeefd4fa3&view=pt&search=all&permthid=thread-f:1771223448977555318&simpl=msg-f:1771223448977555318&simpl=m…   3/3
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.972 Filed 07/22/23 Page 4 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.973 Filed 07/22/23 Page 5 of 76
 Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.974 Filed 07/22/23 Page 6 of 76
PETITION T0 THE LIBERTARIAN PARTY OF MICHIGAN - FILL OFFICER VACANCIES


WHEREAS, The Judicial Committee of the Libertarian Party of Michigan (LPM) recently ruled on an appeal b.v Andres
Chadderdon and recommended overturning the actions of duly elected delegates at the July 9th convention; and
¥REREAS. The Judicial Committee's apinion is that the LPM Executive Committee (LEC) shall be reverted to its
composition as of July 8th, with Mr. Chadderdon assuming the position of Chair and with vacancies in the positions of lst Vice
Chair, 2nd Vice Chair, and four of the Congressional District Representatives; and

WIHREAS, to preserve the body's richt of execution on Article VI, Section 3 of the LPM Bylaws, the elected LEC on July
9th acknowledges the Judicial Committee' s opinion but abstains from executing such opinion as binding to guarantee a apecial
convention; and

WHEREAS. The position of LPM Treasurer is vacant due to resignation; and

WHEREAS, The position of District 2 Representative is vacant due to resignation; and

WIHREAS, Article RT, Section 2 of the LPM Bylaws provides that Robert' s Rules of Order Newly Revised shall be the
parliamentary authority for all matters of procedure not specifically covered by the bylaws or convention rules of the Party; and

WHEREAS, The ultimate authority of the Libertarian Party of Michigan is vested in its dues-paying members both in Roberts
Rules of Order and the LPM Bylaws; and

WHEREAS, Article VI, Section 3 of the LPM Bylaws provides that the "The Party shall hold a special convention within 4i
days. . . when petitions are submitted by 10% of the current membership, specifying the purpose for the special convention. " :
and

WHEREAS, Article IX, Section 1 of the LPM Bylaws provides that the "The Libertinan Party of Michigan may hold
electronic meetings for official party business of any recognized body of the State Party.. ."

THEREFORE, we, the undersigned members of the Libertarian Party of Michigan, demand the LEG call a Special Convenuon
for the purposes of filling all vacancies on the LEC including those that the Judicial Committee asserts exist following their
ruling including:

              1.     1stvicechair
             2.     2ndvicechair
             3.     Treasurer
             4.     District 2 Representative
             5.     District 6 Representative
             6.     District 8 Representative
             7.     District 13 Representative
             8.     District l4 Representative
             9.     Any other vacancies that may occur prior to or at the convention

    Such Special Convention shall be held within 45 days upon delivery of this petition to the Executive Committee. This
    Special Convention may be held via videoconference to ensure maximum participation and reduce travel and related costs
    for delegates. If petitions in companion with this one are received on the same day, business shall be conducted in
    concurrent conventions on the same day . We intend that this petition may be signed in counterparts, which will be
    assembled and constitute a single document, and that scanned, facsimile and/or photographed signatures on this petition
    will have the same legal effect as original signatures.

                                                                      PrintedNamp.




Printed Name:                                                         Printed Name:

Signature:                                                            Signature:
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.975 Filed 07/22/23 Page 7 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.976 Filed 07/22/23 Page 8 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.977 Filed 07/22/23 Page 9 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.978 Filed 07/22/23 Page 10 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.979 Filed 07/22/23 Page 11 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.980 Filed 07/22/23 Page 12 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.981 Filed 07/22/23 Page 13 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.982 Filed 07/22/23 Page 14 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.983 Filed 07/22/23 Page 15 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.984 Filed 07/22/23 Page 16 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.985 Filed 07/22/23 Page 17 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.986 Filed 07/22/23 Page 18 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.987 Filed 07/22/23 Page 19 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.988 Filed 07/22/23 Page 20 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.989 Filed 07/22/23 Page 21 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.990 Filed 07/22/23 Page 22 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.991 Filed 07/22/23 Page 23 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.992 Filed 07/22/23 Page 24 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.993 Filed 07/22/23 Page 25 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.994 Filed 07/22/23 Page 26 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.995 Filed 07/22/23 Page 27 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.996 Filed 07/22/23 Page 28 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.997 Filed 07/22/23 Page 29 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.998 Filed 07/22/23 Page 30 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.999 Filed 07/22/23 Page 31 of 76
   Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1000 Filed 07/22/23 Page 32 of 76
PETITION TO THE LIBERTARIAN PARTY OF MICHIGAN - FILL OFFICER VACANCIES

WHEREAS, The Judicial Committee of the Libertarian Pafi of Michigan (LPM) recently ru1ed on an appeal by Andrew
Chadderdon and recommended overtuming the actions of duly elected delegates at the July 9th convention; and

WHEREAS, The Judicial Committee's opinion is that the LPM Executive Committee (LEC) shall be reverted to its
composition as of .Iuly 8th, with Mr. Chadderdon assuming the position of Chair and with vacancies in the positions of 1st Vice
Chair,2nd Vice Chair, and four of the Congressional District Representatives; and

WHEREAS. to preserve the body's right of execution on Article Vl, Section 3 of the LPM Bylau,s, the elected LEC ol July
9th acknowledges the Judicial Committee's opinion but abstains from executing such opinion as binding to guarantee a special
convention; and

WHEREAS, The position of LPM Treasurer is vacant due to resignation; and

WHEREAS, The position of l)istrict 2 Representative is vacant due to resignation; and

WHEREAS, Article XI, Section 2 of the LPM Bylaws provides that Robert's Ruies of Order Newly Revised shall be the
parliamentary authority for all matters of procedure not specifically covered by the bylaws or convention rules of the Party; and

WI{EREAS, The ultimate authorit}-of the Libertarian Parfy of Michigan is vested in its dues-paying mernbers both in Roberls
Rules of Order and the LPM Bylaws; and

WHEREAS, Article VI, Section 3 of the LPM Bylaws provides that the "The Party shall hold a special convention within 45
days... when petitions are submittedby 10% of the current membership, specifuing the purpose for the special convention.";
and

WHEREAS, Article IX, Section I of the LPM Bylaws provides that the "The Libertarian Party of Michigan may hold
electronic meetings fbr official parly business of any recognized body of the State Party..."

THEREFORE. we, the undersigaed mernbers of the Liberlarian Parly of Michigan, demand the LEC call a Special Convention
for the purposes of filling all vacancies on the LEC including those that the Judicial Cornmittee assefis exist following their
ruling inch.rding:

              l. 1st Vice Chair
              2. 2nd Vice Chair
              3. Treasurer
              4. District 2 Representative
              5. District 6 Representative
              6. District 8 Representative
              7 . District 13 Representative

              tl. District 14 Representative
              9. Any other vacancies that may occur prior to or at the convention
      Such Special Convention shall be held within 45 days upon delivery of this petition to the Executive Committee. This
      Spectal Convention may be held via videoconference to ensrre maximum participation and reduce travel and related costs
      for delegates. If petitions in companion with this one are received on the same day. business shall be conducted in
      concuffent conventions on the same day. We intend that this petition may be signed in counterparls, which will be
      assembled and constitute a single document, and that scanned, facsimile and/or photographed signatures on this petition
      r,vill have the same legal effect as original signatures.

PrintedName:            tI                                           Printed Name:

Signature:                                                           Signature:



Printed Name: Jr,                                                   Printed Name:

Signature:                                                           Signature:
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1001 Filed 07/22/23 Page 33 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1002 Filed 07/22/23 Page 34 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1003 Filed 07/22/23 Page 35 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1004 Filed 07/22/23 Page 36 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1005 Filed 07/22/23 Page 37 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1006 Filed 07/22/23 Page 38 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1007 Filed 07/22/23 Page 39 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1008 Filed 07/22/23 Page 40 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1009 Filed 07/22/23 Page 41 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1010 Filed 07/22/23 Page 42 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1011 Filed 07/22/23 Page 43 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1012 Filed 07/22/23 Page 44 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1013 Filed 07/22/23 Page 45 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1014 Filed 07/22/23 Page 46 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1015 Filed 07/22/23 Page 47 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1016 Filed 07/22/23 Page 48 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1017 Filed 07/22/23 Page 49 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1018 Filed 07/22/23 Page 50 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1019 Filed 07/22/23 Page 51 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1020 Filed 07/22/23 Page 52 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1021 Filed 07/22/23 Page 53 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1022 Filed 07/22/23 Page 54 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1023 Filed 07/22/23 Page 55 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1024 Filed 07/22/23 Page 56 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1025 Filed 07/22/23 Page 57 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1026 Filed 07/22/23 Page 58 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1027 Filed 07/22/23 Page 59 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1028 Filed 07/22/23 Page 60 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1029 Filed 07/22/23 Page 61 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1030 Filed 07/22/23 Page 62 of 76
  Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1031 Filed 07/22/23 Page 63 of 76

PETITION TO THE LIBERTARIAN PARTY OF MICHIGAN - MOTION OF NO CONFIDENCE

WHEREAS, The Judicial Committee of the Libertarian Party of Michigan (LPM) recently ruled on an appeal by Andrer.r,
Chadderdon and recommended overturning the actions of duly elected delegates at the July 9th convention; and

WHEREAS, The Judicial Committee's opinion is that the LPM Executive Committee (LEC) shall be reverted to its
composition as of July 8th, with Mr. Chadderdon assuming the position of Chair: and

WHEREAS, to preselve the body's right of execution on Article VT, Section 3 of the LPM Bylaws, the elected LEC on July
9th acknowledges the Judicial Committee's opinion but abstains from executing such opinion as binding to guarantee a special
convention, and

WHEREAS, Article Xl, Section 2 of the LPM Bylaws provides that Robert's Rules of Order Newly Revised shall be the
parliamentary authorif for all matters of procedure not specifically covered by the bylaws or convention rules of the Party; and

WHEREAS, The ultimate authority of the Libefiarian Party of Michigan is vested in its dues paying members both in Roberls
Rules of Order and the LPM Bylaws ; and

WHEREAS, a Motion of No Confidence in Andrew Chadderdon rvas passed by two-thirds of voting delegates at the July 9th
convention; and

WHEREAS, Andrew Chadderdon continues to display a habitual lack of ability to work with members dissenting fi'om hirn;
and

WHEREAS, Article VI, Section 3 of the LPM Bylaws provides that the "The Party shall hold a special convention within 45
days... when petitions are submitted by l0% of the cun'ent membership, specifying the purpose for the special convention.";
and

WHEREAS, Article IX, Section 1 of the LPM Bylaws provides that the "The Libertarian Party of Michigan may hold
electronic meetings for of'ficial party business of any recognized body of the State Party..."

THEREFORE, rve, the undersigned members of the Libertarian Party of Michigan, demand the LEC call a Speciai Convention
for the puposes of:

      L      Considering a Motion of No Confidence in Andrew Cliadderdon as Chair
      2.     Fiiling the vacancy of Chair in the case of a successful motion of no confidence
      3.     Filling any other vacancies that may occur at the convention

Such Special Convention shali be held within 45 days upon delivery of this petition to the Executive Committee. This Special
Convention may be held via videoconference as a way to ensure maximum participation and reduce travel and related costs for
delegates. If petitions in companion with this one are received on the same day, business shall be conducted in concurrent
conventions on the same day. We intend that this petition may be signed in counterparts, which will be assembled and
constitute a single document, and that scanned, facsimile and/or photographed signatures on this petition will have the same
legal eflect as original signature.




Printed Name:               5a.lve !/L                              Printed Name:

Signature:                                                          Signature:



Printed Nr                                                          Printed Name:

Signature:                                                          Signature:



Printed                                                             Printed Name:

Signature:                                                          Signature:
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1032 Filed 07/22/23 Page 64 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1033 Filed 07/22/23 Page 65 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1034 Filed 07/22/23 Page 66 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1035 Filed 07/22/23 Page 67 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1036 Filed 07/22/23 Page 68 of 76
Case 5:23-cv-11074-JEL-EAS ECF No. 17-13, PageID.1037 Filed 07/22/23 Page 69 of 76


     First             Last      Fill Vacancies    No Confidence   LPMI Member Status
Jason        Barton             Signed            Signed           Current
Jerry        Bloom              Signed            Signed           Current
Scotty       Boman              Signed                             Current
Jason        Brandenburg        Signed            Signed           Current
Joe          Brungardt          Signed            Signed           Current
Mary         Buzuma             Signed            Signed           Current
David        Canny              Signed            Signed           Current
Angela       Canny (Thornton)   Signed            Signed           Current
Leah         Dailey             Signed            Signed           Current
Jon          Elgas              Signed            Signed           Current
Jason        Fraley             Signed            Signed           New
Bill         Gelineau           Signed            Signed           Current
Donna        Gelineau           Signed            Signed           Lapsed
Claranna     Gelineau           Signed            Signed           Current
Jay          Gillotte           Signed            Signed           Current
Lisa         Gioia              Signed            Signed           Current
Donna        Grundle-Kreig      Signed            Signed           Current
Daniel       Grusczynski        Signed                             Current
Arthur       Gulick             Signed            Signed           Current
William      Hall               Signed            Signed           Current
Vicki        Hall               Signed            Signed           Current
Griffin      Hall               Signed            Signed           Current
Andrew       Hall               Signed            Signed           Current
Fred         Horndt             Signed            Signed           Current
Charles      Horndt             Signed            Signed           Current
James        Hudler             Signed            Signed           Current
Anna         Ireland            Signed            Signed           New
Eve          Ireland            Signed            Signed           New
Lawrence     Johnson            Signed            Signed           Current
Eric         Larson             Signed                             Current
Joseph       LeBlanc            Signed            Signed           Current
James        Lewis              Signed            Signed           Current
Kyle         McCauley           Signed            Signed           Current
James        Peace              Signed            Signed           Current
Joe          Phenix             Signed            Signed           Current
Summer       Powers             Signed            Signed           Current
Mike         Saliba             Signed                             Current
Emily        Salvette           Signed            Signed           Current
John         Salvette           Signed            Signed           Current
Gregg        Smith              Signed            Signed           Current
Gregory      Stempfle           Signed            Signed           Current
Jami         Van Alstine        Signed                             Current
Debra        Van Alstine        Signed                             Current
Rafael       Wolf               Signed            Signed           Current
Rodger       Young              Signed            Signed           Current
Tim          Yow                Signed            Signed           Current
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        TOTAL "Current" + Signed      42             36



        TOTAL MEMBERSHIP Jan         346            346
        4, 2023

        10% Membership                35             35



        Special Convention ?         PASS          PASS
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                                                                      Proportion of   Delegate
ElectionDate
 OfficeCode(Text)
 DistrictCode(Text)
  StatusCode
   CountyCode
    CountyName                     Affiliate      CandidateVotes       State Total     Count
    CLINTON           Capitol Area                             495        0.93           2
    EATON             Capitol Area                             634        1.20           2
    INGHAM            Capitol Area                            1408        2.66           5
    SHIAWASSEE        Capitol Area                             424        0.80           1
    GENESEE           Genesee                                 2015        3.80           7
    LENAWEE           Huron-Raisin                             561        1.06           2
    MONROE            Huron-Raisin                             899        1.70           3
    WASHTENAW         Huron-Raisin                            1850        3.49           6
    HILLSDALE         Jackson-Hillsdale                        238        0.45           1
    JACKSON           Jackson-Hillsdale                        802        1.51           3
    LAPEER            Lapeer                                   578        1.09           2
    LIVINGSTON        Livingston                              1545        2.92           5
    MACOMB            Macomb                                  4357        8.22           14
    ANTRIM            Northwest                                163        0.31           1
    BENZIE            Northwest                                  95       0.18           0
    CHARLEVOIX        Northwest                                173        0.33           1
    GD. TRAVERSE      Northwest                                684        1.29           2
    KALKASKA          Northwest                                152        0.29           1
    LEELANAU          Northwest                                155        0.29           1
    MANISTEE          Northwest                                151        0.29           0
    MISSAUKEE         Northwest                                  97       0.18           0
    WEXFORD           Northwest                                211        0.40           1
    OAKLAND           Oakland                                 7144       13.48           24
    BERRIEN           Southwest                                798        1.51           3
    BRANCH            Southwest                                198        0.37           1
    CALHOUN           Southwest                                689        1.30           2
    CASS              Southwest                                246        0.46           1
    KALAMAZOO         Southwest                               1558        2.94           5
    ST. JOSEPH        Southwest                                295        0.56           1
    VAN BUREN         Southwest                                461        0.87           2
    CHEBOYGAN         Straits Area                             172        0.32           1
    EMMET             Straits Area                             231        0.44           1
    OTSEGO            Straits Area                             152        0.29           1
    PRESQUE ISLE      Straits Area                               73       0.14           0
    BAY               Unaffiliated Mid Michigan                626        1.18           2
    GRATIOT           Unaffiliated Mid Michigan                226        0.43           1
    ISABELLA          Unaffiliated Mid Michigan                297        0.56           1
    MIDLAND           Unaffiliated Mid Michigan                623        1.18           2
    SAGINAW           Unaffiliated Mid Michigan                909        1.72           3
    ARENAC            Unaffiliated Mid-North                     94       0.18           0
    CLARE             Unaffiliated Mid-North                   146        0.28           0
    CRAWFORD          Unaffiliated Mid-North                     85       0.16           0
    GLADWIN           Unaffiliated Mid-North                   146        0.28           0
    IOSCO             Unaffiliated Mid-North                   150        0.28           0
    OGEMAW            Unaffiliated Mid-North                   118        0.22           0
    ROSCOMMON         Unaffiliated Mid-North                   132        0.25           0
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 ALCONA             Unaffiliated NE Michigan              57    0.11          0
 ALPENA             Unaffiliated NE Michigan             188    0.35          1
 MONTMORENCY        Unaffiliated NE Michigan              62    0.12          0
 OSCODA             Unaffiliated NE Michigan              45    0.08          0
 HURON              Unaffiliated Thumb Area              174    0.33          1
 ST. CLAIR          Unaffiliated Thumb Area            1060     2.00          4
 SANILAC            Unaffiliated Thumb Area              220    0.42          1
 TUSCOLA            Unaffiliated Thumb Area              295    0.56          1
 ALGER              Upper Peninsula                       48    0.09          0
 BARAGA             Upper Peninsula                       35    0.07          0
 CHIPPEWA           Upper Peninsula                      199    0.38          1
 DELTA              Upper Peninsula                      203    0.38          1
 DICKINSON          Upper Peninsula                      116    0.22          0
 GOGEBIC            Upper Peninsula                       79    0.15          0
 HOUGHTON           Upper Peninsula                      217    0.41          1
 IRON               Upper Peninsula                       67    0.13          0
 KEWEENAW           Upper Peninsula                       13    0.02          0
 LUCE               Upper Peninsula                       24    0.05          0
 MACKINAC           Upper Peninsula                       50    0.09          0
 MARQUETTE          Upper Peninsula                      404    0.76          1
 MENOMINEE          Upper Peninsula                       96    0.18          0
 ONTONAGON          Upper Peninsula                       30    0.06          0
 SCHOOLCRAFT        Upper Peninsula                       47    0.09          0
 WAYNE              Wayne                              6317    11.92         21
 ALLEGAN            West                                 753    1.42          2
 BARRY              West                                 429    0.81          1
 IONIA              West                                 389    0.73          1
 KENT               West                               3927     7.41         13
 LAKE               West                                  38    0.07          0
 MASON              West                                 170    0.32          1
 MECOSTA            West                                 253    0.48          1
 MONTCALM           West                                 390    0.74          1
 MUSKEGON           West                                 943    1.78          3
 NEWAYGO            West                                 317    0.60          1
 OCEANA             West                                 146    0.28          0
 OSCEOLA            West                                 124    0.23          0
 OTTAWA             West                               1801     3.40          6
                                                      52,982   100.00        175

                    Affiliate / Unaffiliated Region                     Delegate Count
                    Capitol Area                                              10
                    Genesee                                                   7
                    Huron-Raisin                                              11
                    Jackson-Hillsdale                                         3
                    Lapeer                                                    2
                    Livingston                                                5
                    Macomb                                                    14
                    Northwest                                                 6
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                         Oakland                                                              24
                         Southwest                                                            14
                         Straits Area                                                          2
                         Unaffiliated Mid Michigan                                             9
                         Unaffiliated Mid-North                                                3
                         Unaffiliated NE Michigan                                              1
                         Unaffiliated Thumb Area                                               6
                         Upper Peninsula                                                       5
                         Wayne                                                                21
                         West                                                                 32
                         Total                                                                175


 TAB-delimited by County results found here https://mielections.us/election/results/2022GEN_CENR.html
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elegate Count                     Affiliate / Unaffiliated Region   Delegate Count
                                  Capitol Area                            10
                                  Genesee                                 7
                                  Huron-Raisin                            11
                                  Jackson-Hillsdale                       3
                                  Lapeer                                  2
                                  Livingston                              5
                                  Macomb                                  14
                                  Northwest                               6
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                      Oakland                          24
                      Southwest                        14
                      Straits Area                      2
                      Unaffiliated Mid Michigan         9
                      Unaffiliated Mid-North            3
                      Unaffiliated NE Michigan          1
                      Unaffiliated Thumb Area           6
                      Upper Peninsula                   5
                      Wayne                            21
                      West                             32
                      Total                            175
